ILND 450 (Rev.Case:   1:19-cv-05771
              10/13) Judgment in a Civil ActionDocument   #: 102 Filed: 04/22/21 Page 1 of 1 PageID #:1075

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Kinsale Insurance Company,

    Plaintiff(s),
                                                                   Case No. 19 C 5771
    v.                                                             Judge Gary Feinerman

    Last Coast Entertainment, LLC, an Illinois limited
    liability company et al,

    Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

           Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

           Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
           Defendant(s) shall recover costs from plaintiff(s).

              other: Judgment is entered in favor of Plaintiff Kinsale Insurance Company and against
Defendants Last Coast Entertainment, LLC, et al. The court declares that Plaintiff Kinsale Insurance Company
has no duty under Policy 0100050413-0 (policy period April 21, 2017 to April 21, 2018) to defend or indemnify
Last Coast Entertainment, LLC, BXX Management Corporation, SBX Management Corp., HAR Management
Corporation, SBX Development Corp., or Martin Conrad for claims brought against them in Muhammad v.
SBX Management Corp., No. 2018 L 3797 (Cir. Ct. Cook. Cnty. filed Apr. 13, 2018).

This action was (check one):
   tried by a jury with Judge      presiding, and the jury has rendered a verdict.
   tried by Judge      without a jury and the above decision was reached.
   decided by Judge Gary Feinerman on a motion.

Date: 4/22/2021                                                Thomas G. Bruton, Clerk of Court

                                                               /s/ Jackie Deanes , Deputy Clerk
